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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,

                      Plaintiff,                                      8:13CR266

       vs.
                                                             ORDER FOR DISMISSAL
JAVIER ROCHIN-ROCHIN,

                      Defendant.



       This matter is before the Court on the United States’ Motion for Dismissal (Filing No. 45).

The Court, being duly advised in the premises, finds said Motion should be sustained.

       IT IS HEREBY ORDERED:

       1.    Leave is granted for the United States to dismiss, without prejudice, the Indictment

filed herein as to the Defendant, Javier Rochin-Rochin.

       2.    The Indictment filed herein is hereby dismissed, without prejudice, as it pertains to

the Defendant, Javier Rochin-Rochin.

       Dated this 18th day of October, 2013.


                                                     BY THE COURT:



                                                      s/ Joseph F. Bataillon
                                                     United States District Court Judge
